  Case 1:06-cv-02650-TWT       Document 204      Filed 11/12/08    Page 1 of 5




                UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

MARIE JUSTEEN MANCHA,         )
et al.,                       )                CIVIL ACTION NO.
                  Plaintiffs, )                1:06-CV-2650-TWT
                              )
v.                            )
                              )
IMMIGRATION AND CUSTOMS )
ENFORCEMENT, et al.,          )
                              )
                  Defendants. )


       PLAINTIFFS’ MOTION FOR A PROTECTIVE ORDER

      Pursuant to Fed. R. Civ. P. 26 (c) and 30(d) , Plaintiffs respectfully

move this court to grant a protective order to limit inquiries by Defendants

into any matters which will result an in terorrem effect on certain

witnesses’ ability to participate in the above-captioned lawsuit. Plaintiffs’

request is articulated with more detail in the accompanying memorandum of

law. Plaintiffs request that the protective order limit inquiry into certain

witnesses’ immigration status and immigration history. In addition,

Plaintiffs request that Defendants be prohibited from taking enforcement

action against any individual as a result of information gained through this

litigation. Plaintiffs also ask this court to allow these individuals to
 Case 1:06-cv-02650-TWT       Document 204      Filed 11/12/08   Page 2 of 5




participate anonymously or using a fictitious name. To date, Plaintiffs have

identified six such potential witnesses, and have identified them as John

Does 1-4 and Jane Doe 1-2 in their Initial Disclosures. Finally, Plaintiffs

request that Defendants limit the oral discovery of certain witnesses to

telephonic appearances.

      As grounds for the motion, the Plaintiffs state as follows:

      1. Certain witnesses are fearful of participation in this lawsuit against

         Defendants due to their role as the immigration and customs

         enforcement agency and/or immigration and enforcement agents.

      2. Fear of Defendants and their power to investigate, detain and

         deport unlawfully present individuals creates an environment that

         results in a chilling effect of certain witnesses’ willingness to

         participate in this lawsuit as witnesses to Defendants wrongdoing.

      3. The immigration status witnesses is irrelevant for determining the

         merits of Plaintiffs claims.

      4. Plaintiffs assert that in accordance with Fed. R. Civ. P. 26(c) they

         have made a good faith attempt to confer with Defendants in an

         attempt to reach an agreement on this matter, and Defendant’s

         counsel indicated that they plan to oppose this motion.
    Case 1:06-cv-02650-TWT    Document 204      Filed 11/12/08      Page 3 of 5




                                     PRAYER

        The foregoing reasons, coupled with the accompanying memorandum

of law and additional supporting evidence, Plaintiffs request that this Court

grant plaintiff’s motion and issue a protective order pursuant to Fed. R. Civ.

P. 26(c) and 30(d) prohibiting defendants’ inquiry into certain witnesses’

immigration status or immigration history during discovery; prohibiting any

enforcement action by Defendants as a result of information gained through

this litigation; permitting certain witnesses to proceed anonymously; and

limiting oral discovery in this action to telephonic depositions.



Respectfully Submitted, 1




 s/ Mary C. Bauer
Mary C. Bauer
GA Bar No. 142213
Daniel Werner
Pro Hac Vice, NY SBRA 3969839
Mónica Ramírez
Pro Hac Vice, FL Bar No. 0711861
IMMIGRANT JUSTICE PROJECT
SOUTHERN POVERTY LAW CENTER

1
 Pursuant to L.R. 7.1D, the undersigned certifies that this pleading
complies with the font and point selections permitted by L.R. 5.1B. This
Motion was prepared using the Times New Roman 14 point typeface.
 Case 1:06-cv-02650-TWT      Document 204   Filed 11/12/08   Page 4 of 5




Southern Poverty Law Center
233 Peachtree Street, Suite 2150
Atlanta, GA 30303
Phone: 404-521-6700
Fax: 404-221-5849

Kelley M. Bruner
Pro Hac Vice, AL Bar No. 8115-K74B
Rhonda Brownstein
Pro Hac Vice, AL Bar No. 3193-064R
Morris Dees
Pro Hac Vice, AL Bar No. 7003-E50M
SOUTHERN POVERTY LAW CENTER
400 Washington Avenue

Paul L. Hoffman
Pro Hac Vice, CA Bar No. 071244
SCHONBRUN DESIMONE SEPLOW
HARRIS & HOFFMAN LLP
723 Ocean Front Walk
Venice, California 90291
(310) 396-0731
(310) 399-7040 (fax)

Brian Spears
GA Bar No. 670112
LAW OFFICE OF BRIAN SPEARS
1126 Ponce de Leon Avenue, NE
Atlanta, Georgia 30306
(404) 872-7086
(404) 892-1128 (fax)
ATTORNEYS FOR PLAINTIFFS
  Case 1:06-cv-02650-TWT       Document 204     Filed 11/12/08    Page 5 of 5




                      CERTIFICATE OF SERVICE

      I hereby certify that on November 12, 2008, a true and correct copy

of the foregoing was filed electronically and served by mail on anyone

unable to accept electronic filing. Notice of this filing will be sent by e-

mail to all parties by operation of the Court’s electronic filing system or by

mail to anyone unable to accept electronic filing. Parties may access this

filing through the court’s CM/ECF System.



Dated: November 12, 2008



s/ Mary Bauer, Esq.__________
